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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                  CRIMINAL ACTION


 VERSUS                                                                                NO. 14-168


 CLIFFORD SONNIER                                                                     SECTION I

                                    ORDER AND REASONS

       The Court has pending before it a motion1 filed by defendant, Clifford Sonnier (“Sonnier”),

to sever his trial from that of certain co-defendants. The government has filed a response.2 For the

following reasons, Sonnier’s motion is DENIED.

                                         BACKGROUND

       On August 7, 2014, the grand jury returned an indictment3 in this case which was superseded

on February 12, 2015.4 Sonnier is charged in counts one, two, and sixteen of the sixteen-count

superseding indictment. Count one charges that between no later than January 1, 2010, and

continuing until on or about November 20, 2013, Sonnier and all eleven co-defendants conspired

to distribute and to possess with the intent to distribute one (1) kilogram or more of heroin and 280

grams or more of cocaine base, in violation of 21 U.S.C. § 846.5 Count two charges that between

no later than August 1, 2012, and continuing until on or about July 9, 2013, Sonnier and six co-

defendants conspired to possess firearms in furtherance of drug trafficking crimes alleged in the



       1
         R. Doc. No. 234.
       2
         R. Doc. No. 275.
       3
         R. Doc. No. 1.
       4
         R. Doc. No. 174.
       5
         R. Doc. No. 174, at 2.

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superseding indictment in violation of 18 U.S.C. § 924(o).6 Count sixteen charges that on September

11, 2013, Sonnier distributed a quantity of cocaine base in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(C).7 Other counts in the superseding indictment charge certain co-defendants, but not Sonnier,

with specific gun-related violations of federal law, including three counts charging certain

defendants with causing the deaths of four people through the use of firearms in violation of 18

U.S.C. §§ 924(c)(1) and (j).8

                                       LAW & ANALYSIS

       “The federal judicial system evinces a preference for joint trials of defendants who are

indicted together because joint trials ‘promote efficiency and serve the interests of justice by

avoiding the scandal and inequity of inconsistent verdicts.’” United States v. McRae, 702 F.3d 806,

821 (5th Cir. 2012) (quoting Zafiro v. United States, 506 U.S. 534, 537 (1993)). “It is the rule,

therefore, not the exception, that persons indicted together should be tried together, especially in

conspiracy cases.” Id. (internal quotation marks omitted).

       Rule 14(a) of the Federal Rules of Criminal Procedure authorizes separate trials of jointly-

indicted defendants if the joinder “appears to prejudice a defendant.” “Severance is proper only if

there is a serious risk that a joint trial would compromise a specific trial right of one of the

defendants, or prevent the jury from making a reliable judgment about guilt or innocence.” McRae,

702 F.3d at 822 (internal quotation marks omitted). “When many defendants are tried together in

a complex case and they have markedly different degrees of culpability, this risk of prejudice is

heightened.” Zafiro, 506 U.S. at 539. “[L]ess drastic measures [than severance], such as limiting


       6
         R. Doc. No. 174, at 2-3.
       7
         R. Doc. No. 174, at
       8
         See R. Doc. No. 174, at 4-5, 7-8.

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instructions, often will suffice to cure any risk of prejudice.” Id.

       Sonnier contends that if he is tried alongside the co-defendants charged with causing deaths

through the use of firearms, the “government will present highly prejudicial and inflammatory

evidence in connection with [those] charges . . . that will have no applicability whatsoever to

Sonnier.”9 He asserts that the evidence at trial will include “graphic and inflammatory autopsy

photos of the victims” and that such evidence “will doubtless have the effect of associating Sonnier

with these crimes.”10 He also contends that his role is “minute compared to those who have been

much more active in the alleged conspirac[ies],” which further enhances the prejudice to him from

a joint trial.11 The government responds that “Sonnier overstates the danger of spillover prejudice”

and that Sonnier has not shown that the jury might convict him on any improper basis.12

       Sonnier’s arguments are similar to those rejected by the Fifth Circuit in United States v.

Posada-Rios, 158 F.3d 832 (1998). In Posada-Rios, twelve defendants were tried together on

“substantially interrelated” conspiracy charges after several motions to sever were denied. See id.

at 862-63. On appeal, several defendants argued that “they were prejudiced by evidence of crimes

committed by co-conspirators, including gruesome murders, before they joined the conspiracies.”

Id. at 863. The Fifth Circuit dismissed that argument, noting that “the district court must guard

against undue prejudice, [but] it need not protect conspirators from evidence of their confederates’

acts in furtherance of their common illegal aim.” Id. (internal quotation marks omitted). The Fifth

Circuit also dismissed “mere generalized criticism” about the length of trial and the number of co-



       9
        R. Doc. No. 234-1, at 2.
       10
          R. Doc. No. 234-1, at 2.
       11
          R. Doc. No. 234-1, at 3.
       12
          R. Doc. No. 275, at 2-3.

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defendants. Id. (internal quotation marks omitted). Finding no compelling prejudice from the joint

trial which would warrant reversal, the court emphasized the trial court’s precautionary instruction

to the jury “that the case against each individual should be considered separately,” which “the court

presumes that the jury followed.” Id. at 863-64.

        The Court will address the prejudice hypothesized by Sonnier as it will instruct the jury that

it should consider the evidence against each defendant separately, as was endorsed in Posada-Rios.

The Court will also take any other appropriate protective measures that are warranted. For example,

although Sonnier contends that the Court should “assume the government will present the crime

scene and autopsy photos of all four of the victims repeatedly for each co-defendant charged with

these murders,”13 the Court will enforce the Federal Rules of Evidence and exclude needlessly

cumulative or unfairly prejudicial evidence, to the extent that such a determination is made. E.g.,

Fed. R. Evid. 403.

        The cases on which Sonnier relies do not compel severance on these facts. United States v.

Kelly involved a conspiracy to sell stock in a company “without disclosure of the true condition of

the company” and “by means of fraud.” 349 F.2d 720, 755 (2d Cir. 1965). United States v. Gallo

involved a prosecution of the Gambino crime family. See 668 F. Supp. 736, 738 (E.D.N.Y. 1987).

Kelly and Gambino each turn on the individualized prejudice of a joint trial to specific defendants

based on the particular circumstances present in those cases; Sonnier does not articulate how either

case warrants a departure in this case from the general “rule . . . that persons indicted together should

be tried together, especially in conspiracy cases.” McRae, 702 F.3d at 821 (internal quotation marks

omitted).


        13
             R. Doc. No. 234-1, at 2.

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        In sum, it appears at this time that whatever prejudice might follow from trying Sonnier

jointly with co-defendants charged with killings can be sufficiently addressed through other

remedies, including careful and specific limiting jury instructions, without resort to the drastic

remedy of severance, see Zafiro, 506 U.S. at 539, and that the benefits of judicial efficiency of a

joint trial are not far outweighed in this particular case.14

                                           CONCLUSION

        For the foregoing reasons,

        IT IS ORDERED that Sonnier’s motion to sever is DENIED.

        New Orleans, Louisiana, April 8, 2015.

                                                        ________________________________
                                                        LANCE M. AFRICK
                                                        UNITED STATES DISTRICT JUDGE




        14
         Sonnier may reurge this issue as it develops at trial. See United States v. Morgan, No. 13-
151, 2014 WL 4443492, at *6 (E.D. La. Sept. 9, 2014) (Fallon, J.) (denying motion to sever but
noting that “this Court can revisit this issue as the trial unfolds if evidence and testimony is
presented that is irrelevant to [defendant] and inflammatory to him.”).

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